Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 1 of 154 Page ID
                                    #:895




                                  Exhibit 3                            3-351
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 2 of 154 Page ID
                                    #:896




                                  Exhibit 3                            3-352
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 3 of 154 Page ID
                                    #:897




                                  Exhibit 3                            3-353
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 4 of 154 Page ID
                                    #:898




                                  Exhibit 3                            3-354
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 5 of 154 Page ID
                                    #:899




                                  Exhibit 3                            3-355
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 6 of 154 Page ID
                                    #:900




                                  Exhibit 3                            3-356
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 7 of 154 Page ID
                                    #:901




                                  Exhibit 3                            3-357
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 8 of 154 Page ID
                                    #:902




                                  Exhibit 3                            3-358
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 9 of 154 Page ID
                                    #:903




                                  Exhibit 3                            3-359
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 10 of 154 Page
                                 ID #:904




                                  Exhibit 3                           3-360
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 11 of 154 Page
                                 ID #:905




                                  Exhibit 3                           3-361
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 12 of 154 Page
                                 ID #:906




                                  Exhibit 3                           3-362
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 13 of 154 Page
                                 ID #:907




                                  Exhibit 3                           3-363
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 14 of 154 Page
                                 ID #:908




                                  Exhibit 3                           3-364
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 15 of 154 Page
                                 ID #:909




                                  Exhibit 3                           3-365
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 16 of 154 Page
                                 ID #:910




                                  Exhibit 3                           3-366
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 17 of 154 Page
                                 ID #:911




                                  Exhibit 3                           3-367
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 18 of 154 Page
                                 ID #:912




                                  Exhibit 3                           3-368
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 19 of 154 Page
                                 ID #:913




                                  Exhibit 3                           3-369
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 20 of 154 Page
                                 ID #:914




                                  Exhibit 3                           3-370
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 21 of 154 Page
                                 ID #:915




                                  Exhibit 3                           3-371
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 22 of 154 Page
                                 ID #:916




                                  Exhibit 3                           3-372
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 23 of 154 Page
                                 ID #:917




                                  Exhibit 3                           3-373
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 24 of 154 Page
                                 ID #:918




                                  Exhibit 3                           3-374
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 25 of 154 Page
                                 ID #:919




                                  Exhibit 3                           3-375
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 26 of 154 Page
                                 ID #:920




                                  Exhibit 3                           3-376
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 27 of 154 Page
                                 ID #:921




                                  Exhibit 3                           3-377
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 28 of 154 Page
                                 ID #:922




                                  Exhibit 3                           3-378
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 29 of 154 Page
                                 ID #:923




                                  Exhibit 3                           3-379
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 30 of 154 Page
                                 ID #:924




                                  Exhibit 3                           3-380
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 31 of 154 Page
                                 ID #:925




                                  Exhibit 3                           3-381
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 32 of 154 Page
                                 ID #:926




                                  Exhibit 3                           3-382
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 33 of 154 Page
                                 ID #:927




                                  Exhibit 3                           3-383
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 34 of 154 Page
                                 ID #:928




                                  Exhibit 3                           3-384
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 35 of 154 Page
                                 ID #:929




                                  Exhibit 3                           3-385
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 36 of 154 Page
                                 ID #:930




                                  Exhibit 3                           3-386
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 37 of 154 Page
                                 ID #:931




                                  Exhibit 3                           3-387
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 38 of 154 Page
                                 ID #:932




                                  Exhibit 3                           3-388
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 39 of 154 Page
                                 ID #:933




                                  Exhibit 3                           3-389
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 40 of 154 Page
                                 ID #:934




                                  Exhibit 3                           3-390
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 41 of 154 Page
                                 ID #:935




                                  Exhibit 3                           3-391
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 42 of 154 Page
                                 ID #:936




                                  Exhibit 3                           3-392
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 43 of 154 Page
                                 ID #:937




                                  Exhibit 3                           3-393
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 44 of 154 Page
                                 ID #:938




                                  Exhibit 3                           3-394
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 45 of 154 Page
                                 ID #:939




                                  Exhibit 3                           3-395
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 46 of 154 Page
                                 ID #:940




                                  Exhibit 3                           3-396
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 47 of 154 Page
                                 ID #:941




                                  Exhibit 3                           3-397
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 48 of 154 Page
                                 ID #:942




                                  Exhibit 3                           3-398
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 49 of 154 Page
                                 ID #:943




                                  Exhibit 3                           3-399
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 50 of 154 Page
                                 ID #:944




                                  Exhibit 3                           3-400
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 51 of 154 Page
                                 ID #:945




                                  Exhibit 3                           3-401
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 52 of 154 Page
                                 ID #:946




                                  Exhibit 3                           3-402
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 53 of 154 Page
                                 ID #:947




                                  Exhibit 3                           3-403
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 54 of 154 Page
                                 ID #:948




                                  Exhibit 3                           3-404
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 55 of 154 Page
                                 ID #:949




                                  Exhibit 3                           3-405
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 56 of 154 Page
                                 ID #:950




                                  Exhibit 3                           3-406
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 57 of 154 Page
                                 ID #:951




                                  Exhibit 3                           3-407
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 58 of 154 Page
                                 ID #:952




                                  Exhibit 3                           3-408
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 59 of 154 Page
                                 ID #:953




                                  Exhibit 3                           3-409
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 60 of 154 Page
                                 ID #:954




                                  Exhibit 3                           3-410
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 61 of 154 Page
                                 ID #:955




                                  Exhibit 3                           3-411
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 62 of 154 Page
                                 ID #:956




                                  Exhibit 3                           3-412
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 63 of 154 Page
                                 ID #:957




                                  Exhibit 3                           3-413
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 64 of 154 Page
                                 ID #:958




                                  Exhibit 3                           3-414
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 65 of 154 Page
                                 ID #:959




                                  Exhibit 3                           3-415
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 66 of 154 Page
                                 ID #:960




                                  Exhibit 3                           3-416
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 67 of 154 Page
                                 ID #:961




                                  Exhibit 3                           3-417
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 68 of 154 Page
                                 ID #:962




                                  Exhibit 3                           3-418
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 69 of 154 Page
                                 ID #:963




                                  Exhibit 3                           3-419
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 70 of 154 Page
                                 ID #:964




                                  Exhibit 3                           3-420
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 71 of 154 Page
                                 ID #:965




                                  Exhibit 3                           3-421
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 72 of 154 Page
                                 ID #:966




                                  Exhibit 3                           3-422
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 73 of 154 Page
                                 ID #:967




                                  Exhibit 3                           3-423
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 74 of 154 Page
                                 ID #:968




                                  Exhibit 3                           3-424
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 75 of 154 Page
                                 ID #:969




                                  Exhibit 3                           3-425
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 76 of 154 Page
                                 ID #:970




                                  Exhibit 3                           3-426
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 77 of 154 Page
                                 ID #:971




                                  Exhibit 3                           3-427
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 78 of 154 Page
                                 ID #:972




                                  Exhibit 3                           3-428
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 79 of 154 Page
                                 ID #:973




                                  Exhibit 3                           3-429
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 80 of 154 Page
                                 ID #:974




                                  Exhibit 3                           3-430
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 81 of 154 Page
                                 ID #:975




                                  Exhibit 3                           3-431
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 82 of 154 Page
                                 ID #:976




                                  Exhibit 3                           3-432
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 83 of 154 Page
                                 ID #:977




                                  Exhibit 3                           3-433
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 84 of 154 Page
                                 ID #:978




                                  Exhibit 3                           3-434
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 85 of 154 Page
                                 ID #:979




                                  Exhibit 3                           3-435
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 86 of 154 Page
                                 ID #:980




                                  Exhibit 3                           3-436
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 87 of 154 Page
                                 ID #:981




                                  Exhibit 3                           3-437
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 88 of 154 Page
                                 ID #:982




                                  Exhibit 3                           3-438
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 89 of 154 Page
                                 ID #:983




                                  Exhibit 3                           3-439
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 90 of 154 Page
                                 ID #:984




                                  Exhibit 3                           3-440
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 91 of 154 Page
                                 ID #:985




                                  Exhibit 3                           3-441
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 92 of 154 Page
                                 ID #:986




                                  Exhibit 3                           3-442
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 93 of 154 Page
                                 ID #:987




                                  Exhibit 3                           3-443
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 94 of 154 Page
                                 ID #:988




                                  Exhibit 3                           3-444
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 95 of 154 Page
                                 ID #:989




                                  Exhibit 3                           3-445
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 96 of 154 Page
                                 ID #:990




                                  Exhibit 3                           3-446
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 97 of 154 Page
                                 ID #:991




                                  Exhibit 3                           3-447
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 98 of 154 Page
                                 ID #:992




                                  Exhibit 3                           3-448
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 99 of 154 Page
                                 ID #:993




                                  Exhibit 3                           3-449
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 100 of 154 Page
                                  ID #:994




                                  Exhibit 3                           3-450
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 101 of 154 Page
                                  ID #:995




                                  Exhibit 3                           3-451
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 102 of 154 Page
                                  ID #:996




                                  Exhibit 3                           3-452
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 103 of 154 Page
                                  ID #:997




                                  Exhibit 3                           3-453
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 104 of 154 Page
                                  ID #:998




                                  Exhibit 3                           3-454
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 105 of 154 Page
                                  ID #:999




                                  Exhibit 3                           3-455
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 106 of 154 Page
                                 ID #:1000




                                  Exhibit 3                           3-456
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 107 of 154 Page
                                 ID #:1001




                                  Exhibit 3                           3-457
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 108 of 154 Page
                                 ID #:1002




                                  Exhibit 3                           3-458
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 109 of 154 Page
                                 ID #:1003




                                  Exhibit 3                           3-459
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 110 of 154 Page
                                 ID #:1004




                                  Exhibit 3                           3-460
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 111 of 154 Page
                                 ID #:1005




                                  Exhibit 3                           3-461
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 112 of 154 Page
                                 ID #:1006




                                  Exhibit 3                           3-462
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 113 of 154 Page
                                 ID #:1007




                                  Exhibit 3                           3-463
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 114 of 154 Page
                                 ID #:1008




                                  Exhibit 3                           3-464
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 115 of 154 Page
                                 ID #:1009




                                  Exhibit 3                           3-465
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 116 of 154 Page
                                 ID #:1010




                                  Exhibit 3                           3-466
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 117 of 154 Page
                                 ID #:1011




                                  Exhibit 3                           3-467
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 118 of 154 Page
                                 ID #:1012




                                  Exhibit 3                           3-468
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 119 of 154 Page
                                 ID #:1013




                                  Exhibit 3                           3-469
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 120 of 154 Page
                                 ID #:1014




                                  Exhibit 3                           3-470
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 121 of 154 Page
                                 ID #:1015




                                  Exhibit 3                           3-471
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 122 of 154 Page
                                 ID #:1016




                                  Exhibit 3                           3-472
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 123 of 154 Page
                                 ID #:1017




                                  Exhibit 3                           3-473
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 124 of 154 Page
                                 ID #:1018




                                  Exhibit 3                           3-474
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 125 of 154 Page
                                 ID #:1019




                                  Exhibit 3                           3-475
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 126 of 154 Page
                                 ID #:1020




                                  Exhibit 3                           3-476
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 127 of 154 Page
                                 ID #:1021




                                  Exhibit 3                           3-477
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 128 of 154 Page
                                 ID #:1022




                                  Exhibit 3                           3-478
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 129 of 154 Page
                                 ID #:1023




                                  Exhibit 3                           3-479
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 130 of 154 Page
                                 ID #:1024




                                  Exhibit 3                           3-480
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 131 of 154 Page
                                 ID #:1025




                                  Exhibit 3                           3-481
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 132 of 154 Page
                                 ID #:1026




                                  Exhibit 3                           3-482
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 133 of 154 Page
                                 ID #:1027




                                  Exhibit 3                           3-483
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 134 of 154 Page
                                 ID #:1028




                                  Exhibit 3                           3-484
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 135 of 154 Page
                                 ID #:1029




                                  Exhibit 3                           3-485
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 136 of 154 Page
                                 ID #:1030




                                  Exhibit 3                           3-486
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 137 of 154 Page
                                 ID #:1031




                                  Exhibit 3                           3-487
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 138 of 154 Page
                                 ID #:1032




                                  Exhibit 3                           3-488
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 139 of 154 Page
                                 ID #:1033




                                  Exhibit 3                           3-489
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 140 of 154 Page
                                 ID #:1034




                                  Exhibit 3                           3-490
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 141 of 154 Page
                                 ID #:1035




                                  Exhibit 3                           3-491
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 142 of 154 Page
                                 ID #:1036




                                  Exhibit 3                           3-492
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 143 of 154 Page
                                 ID #:1037




                                  Exhibit 3                           3-493
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 144 of 154 Page
                                 ID #:1038




                                  Exhibit 3                           3-494
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 145 of 154 Page
                                 ID #:1039




                                  Exhibit 3                           3-495
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 146 of 154 Page
                                 ID #:1040




                                  Exhibit 3                           3-496
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 147 of 154 Page
                                 ID #:1041




                                  Exhibit 3                           3-497
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 148 of 154 Page
                                 ID #:1042




                                  Exhibit 3                           3-498
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 149 of 154 Page
                                 ID #:1043




                                  Exhibit 3                           3-499
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 150 of 154 Page
                                 ID #:1044




                                  Exhibit 3                           3-500
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 151 of 154 Page
                                 ID #:1045




                                  Exhibit 3                           3-501
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 152 of 154 Page
                                 ID #:1046




                                  Exhibit 3                           3-502
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 153 of 154 Page
                                 ID #:1047




                                  Exhibit 3                           3-503
Case 2:16-cv-09178-MWF-E   Document 37-7 Filed 01/23/18   Page 154 of 154 Page
                                 ID #:1048




                                  Exhibit 3                           3-504
